Case 2:22-cv-04355-JFW-JEM Document 103 Filed 02/15/23 Page 1 of 4 Page ID #:4029




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 13   Attorneys for Defendants
      Ryder Ripps and Jeremy Cahen
 14
 15                        UNITED STATES DISTRICT COURT
 16                       CENTRAL DISTRICT OF CALIFORNIA
 17                                WESTERN DIVISION
 18                                             Case No. 2:22-cv-04355-JFW-JEM
 19   Yuga Labs, Inc.,
                                                DISCOVERY MATTER
 20                  Plaintiff and
 21                  Counterclaim Defendant,    NOTICE OF MOTION AND
                                                MOTION RE DEFENDANTS
 22                  v.
                                                RYDER RIPPS AND JEREMY
 23   Ryder Ripps, Jeremy Cahen,                CAHEN’S MOTION TO COMPEL
 24                                             Magistrate Judge: Hon. John E. McDermott
                     Defendants and
 25                                             Motion Hearing Date: March 21, 2023
                     Counterclaim Plaintiffs.   Motion Hearing Time: 10:00 AM
 26                                             Discovery Cutoff Date: April 3, 2023
                                                Pre-Trial Conference Date: June 9, 2023
 27                                             Trial Date: June 27, 2023
 28

      Case No. 2:22-cv-04355-JFW-JEM                                NOTICE OF MOTION
Case 2:22-cv-04355-JFW-JEM Document 103 Filed 02/15/23 Page 2 of 4 Page ID #:4030




  1                 NOTICE OF MOTION AND MOTION TO COMPEL
  2         TO THE HONORABLE COURT, ALL PARTIES, AND THEIR COUNSEL
  3   OF RECORD.
  4         PLEASE TAKE NOTICE THAT on March 21, 2023, at 10:00 A.M., or as soon
  5   thereafter as the matter may be heard, in the United States District Court, Central
  6   District of California, located at 255 E. Temple Street, Los Angeles, California 90012,
  7   Courtroom 640, 6th Floor, before the Honorable John E. McDermott, Defendants
  8   Ryder Ripps and Jeremy Cahen will move, and hereby do move, for an order
  9   compelling Plaintiff Yuga Labs, Inc. to supplement document productions in
 10   response to Defendants’ Requests for Production and supplement its answers to
 11   Defendants’ requests for admission, and to cooperate in the scheduling of depositions
 12   in a timely manner. This motion is made following a conference of counsel pursuant
 13   to Local Rule 37-1 which took place on February 6, 2023.
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 15
 16   Dated: February 15, 2023               By: /s/ Derek Gosma
 17                                               Louis W. Tompros (pro hac vice)
                                                  louis.tompros@wilmerhale.com
 18                                               Monica Grewal (pro hac vice)
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      Case No. 2:22-cv-04355-JFW-JEM                                    NOTICE OF MOTION
Case 2:22-cv-04355-JFW-JEM Document 103 Filed 02/15/23 Page 3 of 4 Page ID #:4031




  1
                                            Attorneys for Defendants
  2                                         Ryder Ripps and Jeremy Cahen
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      Case No. 2:22-cv-04355-JFW-JEM                            NOTICE OF MOTION
Case 2:22-cv-04355-JFW-JEM Document 103 Filed 02/15/23 Page 4 of 4 Page ID #:4032




  1                             CERTIFICATE OF SERVICE
  2         I hereby certify that a copy of the foregoing document was served on all
  3   attorneys of record via the Court’s ECF system on February 15, 2023.
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  6                                          By: /s/ Derek Gosma
  7                                              Derek Gosma
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      Case No. 2:22-cv-04355-JFW-JEM                                   NOTICE OF MOTION
